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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

   U NITED S TATES    OF   A MERICA

               P LAINTIFF ,                          Civil Action No. 4:18-cv-191-HLM

          v.

   C HARLES C. A DAMS M.D., C HARLES C.
   A DAMS , M.D., P.C., D / B / A F ULL C IRCLE
   M EDICAL C ENTER , AND P ERSONAL
   I NTEGRATIVE M EDICINE PLLC

               D EFENDANTS .



                                       COMPLAINT

       The United States of America, by Byung J. Pak, United States Attorney, and Paris

A. Wynn, Assistant United States Attorney for the Northern District of Georgia, brings

this civil action pursuant to the False Claims Act, 31 U.S.C. §§ 3729-3733 (2009), und under

common law theories of payment by mistake and unjust enrichment.

                                      INTRODUCTION

       1. The United States seeks to recover damages, civil penalties and other relief

from Defendants Charles C. Adams, M.D.; Charles C. Adams, M.D., P.C. d/b/a Full

Circle Medical Center and Personal Integrative Medicine, PLLC (“Defendants”) for

having perpetrated a scheme between November 2008 and September 2015 involving the

knowing submission of false claims for medically unnecessary and “alternative”

chelation therapy that Dr. Adams administered using the drug calcium disodium


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versentate, or edetate calcium disodium (EDTA), which the FDA only approved for

indications of lead poisoning and lead encephalopathy. In connection with this scheme,

Defendants received approximately $1.5 million in Medicare reimbursements.

           2. Chelation therapy is a rare treatment that is generally only indicated for

patients suffering from an uncommon condition called heavy metal poisoning (HMP), of

which lead poisoning is the most common subset. HMP is the accumulation of heavy

metals, such as lead, mercury and cadmium, in toxic amounts, in the soft tissues of the

body. 1

           3. A diagnosis of HMP generally requires a symptomatic patient who (1) has been

acutely and recently exposed to lead or other heavy metals, and (2) had a blood test

indicating a sufficiently high amount of heavy metal in the patient’s body. (See, ¶¶ 77-

92)

           4. In the majority of cases, the only treatment for HMP is the removal of the

patient from the source of exposure to heavy metal. However, in a sufficiently acute case,

chelation therapy may be indicated, and it involves providing a patient with a “chelating

agent” such as EDTA, which binds itself to the metals in the bloodstream and is then

excreted from the body via urine, thereby reducing the amount of heavy metals in a

patient’s body.

           5. A provider bills the Medicare program for chelation by submitting two sets of

procedure codes: one for the chosen chelating drug, and one or more for the procedures


      1   Lead poisoning is the most commonly diagnosed form of HMP. Lead encephalopathy,
which is a disease that affects the function and structure of the brain, is a condition caused by
acute lead poisoning.


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associated with administering that drug to a patient. For their part, Defendants utilized

the procedure code J0600 to indicate the use of EDTA, as well as various additional

procedure codes associated with the intravenous administrations of EDTA. 2

      6. Additionally, claims submitted to Medicare for chelation therapy are generally

not payable unless a diagnosis is provided.      Hence, in billing Medicare for EDTA

chelation treatments, Defendants routinely utilized ICD-9 Codes that are associated with

lead poisoning and/or other types of HMP, which included, but were not limited to, the

following ICD-9 Codes:

          •   9848 – Toxic Effect Lead Compounds NEC,

          •   9840 – Toxic Effect Inorganic Lead Compound,

          •   9851 – Toxic Effect Arsenic.

      7. However, despite Defendants’ use of diagnostic codes associated with lead

poisoning, the patients chelated by Dr. Adams were not suffering from lead poisoning,

as evidenced by the fact that their blood lead levels (BLLs) were generally at a miniscule

amount (e.g., less than 2 mcg/dL), far below the BLL level warranting chelation, which is




2 In intravenously administering EDTA, Dr. Adams also typically billed injection and
infusion CPT codes (96365, 96366 96367, 96368), which varied based upon the length of
infusion time. Normal saline and 5% dextrose water (HCPCS codes J7040, J7050 and
J7060) were also used during chelation. Dr. Adams occasionally billed for Dimercaprol
Injections (BAL) (HCPCS code J0470) and Dimethyl Sulfoxide, 50% 50ml (HCPCS code
J1212) in conjunction with EDTA. Dr. Adams also billed for the sterile syringe and needle
used during the injections (HCPCS code A4209) and routine venipuncture (CPT codes
36415).



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a serious and potentially harmful therapy. 3 (See, ¶¶ 93-99) Additionally, the patients

chelated by Dr. Adams had generally not been recently and acutely exposed to lead or

any other heavy metal, which is an essential element of lead poisoning diagnosis.

Moreover, in sworn testimony given in 2017, Dr. Adams admitted that he does not

actually treat lead poisoning or heavy metal toxicity (i.e. HMP), but an altogether

different condition that he called “excess body burden of heavy metals.”

       8. In truth, Defendants’ inclusion of HMP related diagnosis codes on claims

submitted to Medicare was false and fraudulent, and designed to secure Medicare

reimbursement for Dr. Adams’ use of chelation as a form of “alternative” or

“experimental” therapy, which is not covered by Medicare.

       9. Although EDTA chelation is only indicated for lead poisoning and lead

encephalopathy, for years, Dr. Adams has advertised and administered EDTA chelation

as an “alternative” treatment for a myriad of other conditions. (See, ¶¶ 123-129)

       10. For instance, on his webpage, Dr. Adams explicitly touted chelation as an

“alternative medical therapy,” which can be used as an “anti-aging” treatment, to

“improve circulation problems,” and to “…stimulate bone growth, improve cholesterol

and lower blood pressure.”

       11. Additionally, in or around 2001, on his webpage, and under the heading,

“Where alternative medicine is prevention[,]” Dr. Adams publicly stated that:




3Blood tests are utilized to assess the amount of heavy metals, such as lead, within a
patient’s body.


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             •    Chelation Therapy with EDTA helps you feel younger by reversing the
                  accelerated decline of your body. Chelation Therapy helps you achieve
                  healthy aging.

             •    The tremendous benefits experienced by thousands and thousands of
                  people in the areas of heart disease, cancer prevention, diabetes, and
                  chronic fatigue make Chelation Therapy a logical and practical choice for
                  those fortunate enough to take advantage of it.
       12. Moreover, while chelation is a serious and potentially dangerous treatment,

Dr. Adams represented on his webpage that, “chelation therapy is delivered while the

patient relaxes in a recliner chair, perhaps watching TV, chatting, or reading.”

       13. As part of his pitch, Dr. Adams informed potential patients that heavy metals

caused various health problems, and then utilized the results of widely discredited

“provoked urine tests” to tell patients that they had “heightened” levels of heavy metal,

which chelation could reduce, thereby alleviating medical problems, such as high blood

pressure, poor circulation and premature aging.

       14.       If Dr. Adams had submitted claims to Medicare for his “alternative” and/or

“experimental” EDTA chelation therapy and included diagnoses codes or descriptions of

“poor circulation,” “high blood pressure,” “anti-aging” or “cancer prevention,” such

claims would not have been paid.

       15. Indeed, pursuant to National Coverage Determination (NCD) No. 20.22, which

was issued by the Centers for Medicare and Medicaid Services in 2003, and was in effect

throughout the time period relevant to this Complaint, such “alternative” chelation

therapy is not covered by Medicare. Specifically, NCD 20.22 provides that “the use of

EDTA as a chelating agent to treat atherosclerosis, arteriosclerosis, calcinosis, or similar




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generalized conditions not listed by the FDA as an approved use is not covered. Any

such use of EDTA is considered experimental.” 4

        16. As the FDA has only approved EDTA for indications of “lead poisoning” and

“lead encephalopathy,” Dr. Adams’ use of EDTA as an elixir for “anti-aging,” “bone

growth,” “cancer prevention” and “circulation problems” is not covered by Medicare in

accordance with NCD 20.22, and is not considered reasonable and necessary.

        17. Therefore, to circumvent these coverage exclusions, and obtain Medicare

reimbursements for his “alternative” chelation therapy, between November 2008 and

September 2015, Dr. Adams concocted and executed a scheme whereby he knowingly

mischaracterized – in thousands of claims submitted to the Government – his

“alternative” chelation treatment, as medically necessary treatments for patients

suffering from lead poisoning and/or other types of HMP.

        18. Specifically, in the approximately 4500 claims that he caused to be submitted

Medicare, Dr. Adams – through the use of diagnostic codes associated with lead

poisoning and/or other types of HMP (e.g., 9848 – Toxic Effect Other Lead Compounds)

– falsely represented that the claims were for medically necessary chelation to treat

patients suffering from lead poisoning or other forms of HMP, but which are conditions

that Dr. Adams has admitted that he does not diagnose or treat.




   44  Additionally, CMS Medicare Program Integrity Manual, Chapter 3, Section 3.6.2.2,
states that items are “reasonable and necessary” and thus covered by Medicare if, inter
alia, they are “not experimental or investigational.”


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       19. For four separate and independent reasons, the thousands of chelation claims

that Defendants submitted to Medicare between November 2008 and September 2015

were false within the meaning of the FCA:

           a. First, the chelation claims that Defendants submitted or caused to be
              submitted to Medicare were for chelation therapy that was not medically
              necessary.

           b. Second, Defendants expressly stated on the chelation claims that they
              submitted or caused to be submitted to Medicare that their patients suffered
              from the “toxic effects” of lead, mercury and arsenic, even though Dr.
              Adams has admitted that he does not treat patients for heavy metal toxicity.

           c. Third, the chelation claims that Defendants submitted or caused to be
              submitted to Medicare involved “alternative” and/or “experimental”
              chelation therapy for conditions that are excluded from Medicare coverage
              pursuant to NDC 20.11.

           d. Finally, the chelation claims that Defendants submitted or caused to be
              submitted to Medicare were for indications that were not approved by the
              FDA, and were therefore not covered by Medicare.
       20. Defendants tendered these false claims to the Government with “knowledge”

– as that term is defined by the FCA – of their falsity. Specifically, in submitting the

claims, Defendants either had actual knowledge that, or acted in deliberate ignorance or

reckless disregard of the falsity of the claims.

                                        THE PARTIES
       21. Plaintiff is the United States who brings this action on behalf of the United

States Department of Health and Human Services (HHS) and the Centers for Medicare

and Medicaid Services (CMS), which administers the Medicare program.

       22. Defendant Personal Integrative Medicine, PLLC (“PIM”) is a corporation

organized and existing under the laws of the State of Tennessee, with its principal place

of business located in Ringgold, Georgia. PIM is owned and operated by Dr. Charles C.

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Adams for the purpose of, inter alia, providing integrative and/or alternative therapies

such as EDTA chelation, and submitting, processing and/or receiving, bills, claims,

payments and reimbursements associated with such therapies.

        23. Defendant Charles C. Adams, M.D. (Dr. Adams) at all times relevant to the

Complaint, was a licensed physician in the State of Georgia, doing business at 4085 Cloud

Springs Road, Ringgold, Georgia, 30736.

        24. Defendant Charles C. Adams, M.D., P.C., d/b/a Full Circle Medical Center

(“FCMC”) was at all times relevant to the Complaint a corporation organized under the

laws of the State of Tennessee, with its principal place of business in Ringgold, Georgia,

and doing business at 4085 Cloud Springs Road, Ringgold, Georgia, 30736. FCMC is

owned and operated by Dr. Charles C. Adams for the purpose of, inter alia, providing

integrative and/or alternative therapies such as EDTA chelation, and submitting,

processing and/or receiving, bills, claims, payments and reimbursements associated

with such therapies.

        25. According to Dr. Adams, he earned a medical degree from the University of

Tennessee in 1988, and completed an internal medicine residency at Erlanger Hospital in

1992.

        26. However, Dr. Adams is not board certified in internal medicine (or any other

medical discipline or specialty) by the American Board of Medical Specialties (ABMS),

which is the nationally recognized not-for-profit organization that – in partnership with

its 24 certifying member boards – establishes professional and educational standards for

medical specialty practice and certification.




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       27. Instead, according to Dr. Adams, in or around 2014, he obtained a “board

certification” from the American Board of Integrative Medicine and Holistic Medicine. 5

Dr. Adams testified that he is “not certain” what holistic medicine entails, but holds

himself out as a practitioner of “integrative medicine,” which he explains involves

“looking at supplements,” as well as the use of “ozone therapy, hyperbaric oxygen

therapy, different IV therapies.”

                             JURISDICTION AND VENUE

       28. This Court has jurisdiction over the subject matter of this action pursuant to 31

U.S.C. § 3730(a) and 28 U.S.C. §§ 1331 and 1345, and supplemental jurisdiction over the

United States’ common law and equitable claims under 28 U.S.C. § 1367(a).

       29. This Court may exercise personal jurisdiction over Dr. Adams pursuant to 31

U.S.C. § 3732(a) because Dr. Adams’ office is located in the Northern District of Georgia

and because he transacts business in the Northern District of Georgia. The United States’

claims against Dr. Adams under Georgia law arise from the same transaction or

occurrence as its claims under the 31 U.S.C. § 3729, et seq.

       30. The Court may exercise personal jurisdiction over PIM pursuant to 31 U.S.C. §

3732(a) because it transacts business in the Northern District of Georgia.     The United

States’ claims against PIM under Georgia law arise from the same transaction or

occurrence as its claims under 31 U.S.C. § 3729, et seq.




   5 The ABMS does not recognize either “holistic” or “integrative” medicine as either
specialties or sub-specialties.


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        31. The Court may exercise personal jurisdiction over FCMC pursuant to 31 U.S.C.

§ 3732(a) because it maintains a physical presences and transacts business in the Northern

District of Georgia. The United States’ claims against FCMC under Georgia law arise

from the same transaction or occurrence as its claims under 31 U.S.C. § 3729, et seq.

        32. Venue is proper in the Northern District of Georgia pursuant to 28 U.S.C. §§

1391(b) and 31 U.S.C. § 3732(a) because Defendants reside and/or transact business in

this district, and because they have committed acts proscribed by 31 U.S.C. 3729 in this

district.
                                 THE FALSE CLAIMS ACT

        33. The False Claims Act (FCA), 31 U.S.C. §§ 3729, et seq. provides in pertinent

part that any person who:

             •   knowingly presents, or causes to be presented, a false or fraudulent claim
                 for payment or approval; [or]

             •   knowingly makes, uses, or causes to be made or used, a false record or
                 statement material to a false or fraudulent claim . . .

is liable to the United States Government for a civil penalty of not less than $5,000 and
not more than $10,000, as adjusted by the Federal Civil Penalties Inflation Adjustment
Act of 1990 . . . , plus 3 times the amount of damages which the Government sustains
because of the act of that person.
31 U.S.C. § 3729(a)(1). See also 28 C.F.R. § 85.3(a)(9).

        34. The FCA was amended pursuant to Public Law 111-21, the Fraud Enforcement

and Recovery Act of 2009 (“FERA”), enacted May 20, 2009. Section 3729(a)(1) of the prior

statute applies to conduct that occurred before FERA was enacted, and Section

3729(a)(1)(A) of the revised statute applies to conduct after FERA was enacted. Section

3729(a)(1)(B) is applicable to all claims in this case by virtue of Section 4(f) of FERA.



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          35. For violations occurring prior to May 20, 2009, the False Claims Act provided

in pertinent part that a person is liable to the United States government for each instance

in which the person “knowingly presents, or causes to be presented, to an officer or

employee of the United States government . . . [a] false or fraudulent claim for payment

or approval.” 31 U.S.C. § 3729(a)(1) (1986).

          36. As amended in 2009, the False Claims Act extends liability, both before and

after its amendments, to any person who “knowingly makes, uses, or causes to be made

or used, a false record or statement material to a false or fraudulent claim.” 31 U.S.C. §

3729(a)(1)(B) (2009).

          37. The False Claims Act defines the terms “knowing” and “knowingly” to mean

that a person, with respect to information: (1) has actual knowledge of the information;

(2) acts in deliberate ignorance of the truth or falsity of the information; or (3) acts in

reckless disregard of the truth or falsity of the information. 31 U.S.C. § 3729(b) (1986); 31

U.S.C. § 3729(b)(1)(A) (2009). The False Claims Act further provides that no proof of

specific intent to defraud is required. 31 U.S.C. § 3729(b) (1986); 31 U.S.C. § 3729(b)(1)(B)

(2009).
                               THE MEDICARE PROGRAM

          38. In 1965, Congress enacted the Health Insurance for the Aged and Disabled Act,

42 U.S.C. § 1395 et seq., known as the Medicare Program, to pay the costs of certain health

care services. A person’s entitlement to Medicare is based on age, disability, or affliction

with end-stage renal disease. See 42 U.S.C. §§ 426, 426-1.

          39. The Medicare Program is administered through the U.S. Department of Health

& Human Services (HHS), and HHS has delegated direct responsibility for


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administration of the Medicare Program to the Centers for Medicare and Medicaid

Services (CMS).

       40. While the Medicare program has several parts (see, 42 U.S.C. §§ 1395c–1395i),

the allegations herein concern claims submitted by Defendants under Medicare Part B

(“Supplementary Medical Insurance for the Aged and Disabled”), which generally

covers, inter alia, those drugs that are provided incident to a physician’s service and

cannot usually be self-administered. See 42 U.S.C. § 1395k; 42 C.F.R. §§ 410.26, 414.701,

410.10.

       41. To assist in the administration of Medicare Part B, CMS initially contracted

with “carriers.” 42 U.S.C. § 1395u. Carriers, typically private insurance companies, were

responsible for processing and paying Part B claims. 42 C.F.R. §§ 421.1–421.3.

       42. Beginning in November 2006, Medicare Administrative Contractors (MACs)

began replacing carriers and fiscal intermediaries. See 42 U.S.C. § 1395kk-1; 42 C.F.R. §

421.400 et seq.; 71 F.R. 67960-01, at 68181 (Nov. 24, 2006). MACs generally act on behalf

of CMS to process and pay Part B claims and perform administrative functions on a

regional level.

       43. The Part B MAC for the region that encompassed Georgia between 2009 and

2015 was Cahaba Government Benefit Administrators, LLC (Cahaba).

       44. To participate in the Medicare program as a new enrollee, independent clinical

laboratories, group practices, and individual providers must submit a Medicare

Enrollment Application, CMS Form-855I. These entities must also complete Form CMS-




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855I to change information or to reactivate, revalidate, and/or terminate Medicare

enrollment. 6

        45. CMS Form 855I requires, among other things, signatories to certify:

                I agree to abide by the Medicare laws, regulations and program
                instructions that apply to me or to the organization listed in Section
                4(A) of this application . . . . I understand that payment of a claim by
                Medicare is conditioned upon the claim and the underlying
                transaction complying with such laws, regulations, and program
                instructions (including, but not limited to, the Federal anti-kickback
                statute and the Stark law), and on the supplier’s compliance with all
                applicable conditions of participation in Medicare.
                                                  ***
                I will not knowingly present or cause to be presented a false or
                fraudulent claim for payment by Medicare, and I will not submit
                claims with deliberate ignorance or reckless disregard of their truth
                or falsity.

        46. Additionally, an authorized official must sign the “Certification Section” in

Section 15 of Form CMS-855I, which legally and financially binds the signer to all of the

laws, regulations, and program instructions of the Medicare program.

        47. On November 10, 2006, Dr. Adams signed the certification statement in Section

15 of Form CMS-855I, indicating that, inter-alia, he understood that he and his practice

were required to comply with all Medicare laws, regulations, and program instructions.

        48. A Medicare provider submits a reimbursement claim for the services provided

on a CMS 1500 form (“CMS 1500”) or its electronic equivalent known as the “837P Form.”

Among the information the provider or supplier includes on a CMS 1500 or 837P Form

are certain five-digit codes, Current Procedural Terminology Codes (“CPT Codes”)


   6   Presently, this form may be known as a Form CMS-855B.


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and/or Healthcare Common Procedure Coding System Level II Codes (“HCPCS Codes”)

(collectively, “Procedure Codes”) – to indicate to CMS the specific services rendered for

which the provider is seeking reimbursement.

       49. In addition to Procedure Codes, providers are also required to include a

diagnosis code with each claim, which describes the diagnosis or medical condition

associated with a particular provider claim to Medicare. See 42 C.F.R. § 424.32.

       50. For instance, the ICD-9 Code “9840-Toxic Effect Inorganic Lead Compound”

denotes a diagnosis of lead poisoning.

       51. During the relevant time period, Medicare providers were required to use the

diagnostic codes (“ICD-9 Codes”) set forth in International Classification of Diseases, Ninth

Revision.7

       52. The Medicare statute requires that each request for payment or bill submitted

for an item or service payable under Medicare Part B include the name and unique

physician identification number for the rendering and referring physicians. 42 U.S.C. §

13951(q)(1).

       53. The National Provider Identifier (“NPI”) is a standard and unique health

identifier for health care providers.    All providers and practitioners must have an

assigned NPI number prior to enrolling in Medicare.

       54. Dr. Adams’ and/or FCMC’s NPI number is 1437192465.




   7ICD-9 codes are promulgated, revised, maintained and published by the World
Health Organization.


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       55. When submitting claims to Medicare, providers certify inter alia, that (a) the

services rendered are “medically indicated and necessary for the health of the patient;”

(b) the information on the claim form is “true, accurate and complete;” and (c) the

provider understands that “payment and satisfaction of this claim will be from Federal

and State funds, and that any false claims, statements, or documents, or concealment of

a material fact, may be prosecuted under applicable Federal and State laws.”

       56. Healthcare providers are prohibited from knowingly presenting or causing to

be presented claims that represent a pattern of items or services that the person knew or

should have known were not medically necessary, or knew or should have known were

false or fraudulent.    42 U.S.C 1320a-7a(a)(1); 1320a-7(b)(7) (permitting exclusion of

providers for the foregoing violations).

       57. Medicare only covers items and services that are “reasonable and necessary for

the diagnosis or treatment of illness or injury.” Items and services that are not reasonable

and necessary are excluded from coverage under Medicare.                 See 42 U.S.C. §

1395y(a)(1)(A).

       58. Additionally, CMS Medicare Program Integrity Manual, Chapter 3, Section

3.6.2.2, states that items are “reasonable and necessary” and thus covered by Medicare if,

inter alia, they are “not experimental or investigational.”

       59. On November 10, 2006, Dr. Adams signed the certification statement in Section

15 of Form CMS-855I, and thereby agreed to adhere to, “…Medicare laws, regulations

and program instructions[,]” which include, but are not limited to, CMS Medicare

Program Integrity Manual, Chapter 3, Section 3.6.2.2.




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      60. Medicare provides for drug coverage only where the use of a drug has been

shown to be safe and effective and is otherwise reasonable and necessary. 41 U.S.C. §

1395y(a)(1)(A).

      61. Drugs approved for marketing by the FDA are considered safe and effective

when used for the indications specified on the labeling.

      62. Medicare may cover a drug for a use that is not included as in indication on the

drug’s label as approved by the FDA if the MAC determines the use to be medically

accepted, taking in consideration the major drug compendia, authoritative medical

literature and/or accepted standards of medical practice. See Medicare Benefit Policy

Manual, Chapter 15, § 50.4.2.

      63. Cahaba did not issue any local coverage determinations regarding EDTA that

were in effect during the relevant time period. Moreover, Cahaba never determined that

EDTA for non-indicated uses was medically accepted.

      64. Because it is not feasible for Medicare personnel to review every patient’s

medical records for the millions of claims for payments they receive from providers, the

program relies on providers to comply with Medicare requirements and trusts providers

to submit truthful and accurate certifications and claims.

      65. Generally, once a provider submits CMS Form 1500 or 837P Form to Medicare,

the claim is paid directly to the provider without any review of supporting

documentation, including medical records.




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                                FACTUAL ALLEGATIONS
                    CHELATION AND HEAVY METAL POISONING

         66. Chelation is a rarely administered treatment for an uncommon condition called

heavy metal poisoning (HMP), which is the accumulation of heavy metals, in toxic

amounts, in the soft tissues of the body. 8 The heavy metals most commonly associated

with the poisoning of humans are lead, mercury and cadmium.               If heavy metals

accumulate in the body in concentrations sufficient to cause poisoning, serious damage

may occur.

         67. Lead is the heavy metal that humans are most commonly exposed to, and lead

poisoning is the most commonly diagnosed form of HMP. Lead encephalopathy is a

disease that affects the function and structure of the brain, and is a condition caused by

acute lead poisoning.

         68. Indeed, the bulk – e.g. approximately $1.2 million – of the approximately $1.5

million in chelation related claims that Defendants submitted or caused to be submitted

to Medicare between November 2008 and September 2015 contain a diagnosis associated

with lead poisoning.

         69. In the majority of cases, the only treatment for HMP is the removal of the

patient from the source of exposure to heavy metal. However, in a sufficiently acute case,

as largely determined by the amount of a heavy metal identified in a patient’s body by a

reliable laboratory test, chelation therapy may be indicated.

         70. Chelation therapy involves providing a patient (orally, intravenously or

through injections) with a “chelating agent,” which binds itself to the metals in the

8   HMP is especially rare amongst the elderly.


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bloodstream, where it is then excreted from the body via urine, thereby reducing levels

of heavy metal.

       71. There are a number of chelating agents available, such as Dimercaprol (BAL),

Succimer (DMSA) and edetate calcium disodium (EDTA), which is the chelating agent

most heavily utilized by Dr. Adams.

       72. In terms of potential hazards and side effects, according to the American

College of Medical Toxicology (ACMT), “…chelating drugs may have significant side

effects, including dehydration, hypocalcemia, kidney injury, liver enzyme elevations,

hypotension allergic reactions and essential mineral deficiencies.        Inappropriate

chelation…risk these harms, as well as neurodevelopmental toxicity, teratogenicity and

death.” 9

       73. Indeed, EDTA has a black box warning indicating that it “is capable of

producing toxic effects which can be fatal.” Moreover, the manufacturer indicates that

EDTA’s adverse side effects include fever, chills, malaise, fatigue, myalgia, arthralgia,

hypotension, cardiac rhythm irregularities, acute necrosis of proximal tubules (which

may result in fatal nephrosis), nausea, vomiting, hypercalcemia, tremors, headaches,

numbness and others.




   9 The American College of Medical Toxicology is a professional, nonprofit association
of physicians with recognized expertise in medical toxicology, which is a field of
medicine dedicated to the evaluation and treatment of poisoned patients. This also
includes adverse health effects of medications, occupational and environmental toxins,
and biological agents. Medical Toxicology is an officially recognized subspecialty by
the ABMS.


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                   CHELATION IS ONLY INDICATED FOR HMP
       74. The clear medical consensus is that chelation is a medical treatment that is

generally only indicated for clinically confirmed cases of HMP, such as lead poisoning.

       75. Indeed, in the package insert for EDTA, which is the chelating agent principally

employed by Dr. Adams, the manufacturer explicitly references the FDA’s determination

that EDTA is only: “…indicated for the reduction of blood levels and depot stores of lead

in lead poisoning (acute and chronic) and lead encephalopathy.”

       76. Hence, EDTA, the specific chelating agent principally utilized by Dr. Adams,

is only indicated for lead poisoning and lead encephalopathy.

  THE STANDARD OF CARE FOR DIAGNOSING HEAVY METAL POISONING

           A Thorough Differential Diagnosis Is Necessary As There Are Few
                           Dispositive Symptoms of HMP.
       77. There are few dispositive symptoms that a patient has HMP. For instance,

although encephalopathy, foot or wrist drop and severe abdominal colic are symptoms

that are suggestive of severe lead poisoning, very few symptoms – in-and-of-themselves

– are dispositive that a patient has lead poisoning.

       78. Instead, the majority of HMP symptoms – e.g., headache, nausea, joint pain,

muscle pain, fatigue, persistent vomiting, diarrhea and abdominal pain – are commonly

associated with a myriad of other ailments.

       79. Therefore, a broad medical differential should be performed before concluding

that a patient is symptomatic of, and/or actually suffering from lead poisoning, or

another form of HMP.




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           Recent And Acute Patient Exposure To Heavy Metal Is An Essential
                          Component Of An HMP Diagnosis.

        80. In diagnosing HMP, a critical assessment is whether the patient has

experienced a recent and acute exposure to heavy metal. As one article noted, “A history

of exposure is the most critical aspect of diagnosing heavy metal toxicity.”

        81. As noted by the Minnesota Department of Health in 2015, “Metal toxicity is

rare[,]” and “…does not typically occur in the absence of an extraordinary exposure.”

        82. “Even if a clinically significant metal exposure is suspected or possible, the

differential diagnosis should remain broad until definitive proof of exposure and toxicity

is obtained.” Id.

        83. Patient exposure to heavy metals is largely occupational, and typically occurs

in industries such as mining, manufacturing and construction. Indeed, most acute

presentations of HMP involve industrial exposure.

                     Laboratory Tests Are Necessary To Accurately
                                   Diagnose HMP.

        84. Laboratory testing is necessary to diagnose HMP, but is generally only

medically necessary where a patient has recently been acutely exposed to heavy metals

and is symptomatic. 10




    In a 2015 bulletin entitled “Heavy Metal Detection and the Concept of Chelation,” the
   10

Minnesota Department of Health states that, “Testing in response to nonspecific
symptoms, or testing in the absence of suspected exposure, is of no value.”




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      85. In the absence of recent and acute patient exposure to heavy metals, the

medical consensus is that diagnostic testing for HMP in response to vague and/or

generalized symptoms is not medically necessary.

      86. Indeed, the American College of Medical Toxicology (ACMT) has noted that

patients should not be screened for heavy metals in the absence of excessive exposure to

heavy metals:

      Individuals are constantly being exposed to metals in the environment and often
      have detectable levels without being poisoned. Indiscriminant testing lead to
      needless concern[.] Diagnosis of any metal poisoning requires an appropriate
      exposure history and clinical findings consistent with poisoning by that metal. A
      patient should only undergo specific metal testing if there is a concern for a specific
      poisoning based on history and physical findings.


             Blood Tests Are the Most Reliable Indicator of the Amount of
                          Heavy Metal in a Patient’s Body.

      87. The medical consensus is that blood tests are the most reliable indicator of

whether a toxic amount of heavy metal is present in a patient’s body.             Hence, in

diagnosing HMP, physicians utilize blood tests to assess the amount of heavy metal in a

patient’s body, and this information largely drives the determination as to whether a

patient is suffering from HMP. 11




11Although the standard of care generally calls for blood test to assess levels of heavy
metal in a patient’s body, urine test are also sometimes utilized in conjunction with blood
test with respect to certain heavy metals, such as mercury.


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       88. For example, with respect to suspected lead poisoning, blood tests are utilized

to assess the amount of lead within a patient’s body, and this metric is known as “BLL,”

which stands for “blood lead level.” 12 As one medical treatise explains:

       The key clinical monitoring test for diagnosing lead toxicity is blood lead level
       (BLL). Measuring lead in urine, hair or other media is not as accurate or reliable
       and does not correlate as well with adverse health effects.

                       Provoked Urine Tests Are Unreliable,
       Potentially Dangerous And Should Not Be Utilized In Diagnosing HMP.

       89. With respect to the medical consensus as to diagnosing HMP, blood tests are

to be contrasted with “provoked urine tests,” which are heavily utilized by practitioners

such as Dr. Adams, who market and administer chelation as a so-called “alternative

therapy” for a variety of ills and/or conditions.

       90. A provoked urine test is given by administering a chelating agent to a patient,

and then collecting a urine sample hours later. Almost invariably, the results show the

presence of supposedly “heightened” levels of heavy metal, as the chelating agent

dislodges heavy metal that is imbedded in the body, which is then excreted in urine.

       91. Provoked urine tests have been repeatedly criticized, and the consensus is that

the test is unreliable and potentially dangerous. For instance, on March 30, 2010, ACMT

issued the following position statement:

       It is, therefore, the position of the American College of Medical Toxicology that
       post-challenge urinary metal testing has not been scientifically validated, has no
       demonstrated benefit, and may be harmful when applied in the assessment and
       treatment of patients in whom there is concern for metal poisoning.

12Similarly, pursuant to the standard of care, blood tests are utilized to detect levels of
other heavy metals such as mercury and cadmium.


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        92. Additionally, ACMT has stated that, “Scientific studies demonstrate that the

administration of a chelation agent leads to increased excretion of various metals into the

urine, even in healthy individuals without metal related disease. These “provoked” or

“challenged” test of urine are not reliable means to diagnose metal poisoning and have

been associated with harm.” 13

   CHELATION IS ONLY INDICATED FOR PATIENTS WITH SIGNIFICANTLY
                HEIGHTENED LEVELS OF HEAVY METAL.
        93. Fundamentally, and as noted by ACMT, “[m]etals are ubiquitous in the

environment and all individuals are exposed to and store some quantities of metals in the

body. These do not necessarily result in illness.”

        94. Hence, the medical consensus and standard of care provide that chelation is

indicated only where a legitimate laboratory test (e.g., a blood test) – as opposed to a

provoked urine test – demonstrates that lead (or another heavy metal) is present in a

patient’s body at a sufficiently high level.

        95. For example, with respect to suspected and confirmed cases of lead poisoning,

there are BLL thresholds above which chelation may be medically necessary, and below

which chelation is not medically necessary.

        96. While there is some variability as to the precise BLL where chelation is

indicated, the consensus is that chelation is only indicated for patients with extremely

heightened BLLs.


   13 Additionally, several private insurers have taken the position that provoked urine
testing – as well any HMP diagnosis and/or HMP treatment based upon such testing –
is not necessary and/or efficacious and therefore not covered.


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        97. For instance, in a March 2007 article entitled “Recommendations for Medical

Management of Adult Lead Exposure” that appeared in a peer reviewed journal

published by the National Institute for Health (“NIH”), it was recommended that

chelation be considered only for adult patients with BLLs greater than 50 mcg/dL and

exhibiting significant symptoms or signs of lead toxicity. Absent significant symptoms

or signs of lead toxicity, the article recommends chelation only for adults with BLLs equal

to (or greater than) 80 mcg/dL.

        98. Moreover, if a patient’s BLL is less than 40 mcg/dL, any symptoms are not

likely attributable to lead poisoning, and chelation is therefore neither reasonable nor

necessary. 14

        99. For context, the mean BLL in adults in the United States from 2011 to 2012 was

only 1.09 mcg/dL, while the medical consensus is that no action whatsoever – e.g.,

medication, counseling, reduced exposure, ect. – is necessary with respect to patients with

BLLs less than 5 mcg/dL.




   14 Indeed, with respect to suspected lead poisoning, the medical consensus is that
there is no evidence that chelation is beneficial to patients with BLLs of less than 40
mcg/dL:

        If an adult reports clinical symptoms with BLL<40 mcg, the symptoms are not
        likely attributable to lead poisoning, and other explanations should be sought.
        There is no evidence that chelation therapy at BLL <40 mcg/dL decreases
        symptoms or reduces the risk of chronic disease.


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                THE ADMINISTRATION OF CHELATION THERAPY

        100.   Once the decision to chelate a patient has been made, a number of chelating

agents are available, which include, but are not limited to, Dimercaprol (BAL), Edetate

calcium disodium (EDTA) and Succimer (DMSA).

        101.   BAL is a chelator that is effective in treating lead, arsenic and mercury

poisoning, and is administered via deep intramuscular injections.

        102.   The most commonly prescribed chelator is DMSA, which is effective in

treating lead poisoning, and is administered orally via tablets. According to Goldfranks

Toxicological Emergencies, for mildly symptomatic adults with BLLs between 70 and 100

mcg/dL, DMSA is the recommended chelating agent. 15

        103.   Edetate calcium disodium (EDTA) (the chelating agent utilized by Dr.

Adams) is also used to treat lead poisoning, and is administered intravenously, or per the

manufacturer, via intramuscular injections. According to Goldfranks Toxicological

Emergencies, for adult patients with BLLs in excess of 100 mcg/dL, a chelation therapy

consisting of BAL and EDTA is recommended.

        104.   Generally, an oral chelating agent (e.g., DMSA) – as opposed to an

intravenous chelating agent (e.g., EDTA) – should be administered.           Intravenous

chelating agents should be reserved for an incapacitated patient.




   15Goldfranks Toxicological Emergencies is an authoritative source with respect to
diagnosing and treating poisoning (including, but not limited to, lead poisoning).


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       105.   Finally, chelation therapy should be of limited duration, and should cease

when laboratory tests confirm that heavy metals have been reduced to a level where they

no longer present an acute health risk to the patient.

CERTAIN PRACTITIONERS MARKET CHELATION AS AN “ALTERNATIVE” OR
      “EXPERIMENTAL” TREATMENT FOR A HOST OF CONDITIONS
       106.   Although the medical consensus is that chelation is generally only indicated

for HMP, certain practitioners (including Dr. Adams) of “alternative” and/or

“integrative” medicine market and administer chelation as a treatment for a variety of ills

and conditions, which include, but are not limited to: (1) circulation problems, (2) heart

disease, (3) autism, (4) fatigue, and (5) premature aging.

       107.   Whereas the medical consensus is that chelation is only possibly indicated

for patients with extremely high levels of heavy metal (e.g. BLLs in excess of 50 mcg/dL

(symptomatic patient) or 80 mcg/dL (asymptomatic patient), certain practitioners of

“alternative” and/or “integrative” medicine espouse the view that even low levels of

heavy metals cause harm, and that therefore chelation is a medically appropriate

treatment for patients with relatively low levels of heavy metals.

       108.   A 2013 editorial entitled “Use and Misuse of Metal Chelation Therapy” that

appeared in the Journal of Medical Toxicology contains the following observations

regarding “alternative” chelation therapy:

          •   Many of these treatments are performed by practitioners with a world view
              best described as “if it exists and has been described as harmful in some
              large amount, then getting rid of any amount will make you better.”




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          •   [T]he prevalence of fraudulent testing and misdiagnosis is of great concern
              to the American College of Medical Toxicology (ACMT) and public health
              entities.

          •   Some practitioners who provide post-provocation testing and chelation
              therapy for the erroneous diagnosis of chronic metal poisoning may just be
              ignorant[.] Others derive significant profit from the practice.

MEDICARE DOES NOT COVER “ALTERNATIVE” OR “EXPERIMENTAL” EDTA
                    CHELATION THERAPY.
      109.    Medicare provides for drug coverage only where the use of a drug has been

shown to be safe and effective and is otherwise reasonable and necessary. 41 U.S.C. §

1395y(a)(1)(A).

      110.    Drugs approved for marketing by the FDA are considered safe and effective

when used for indications specified on the labeling.

      111.    Medicare may cover a drug for a use that is not included as an indication

on the drug’s label as approved by the FDA if the MAC determines the use to be

medically accepted, taking in consideration the major drug compendia, authoritative

medical literature and/or accepted standards of medical practice. See Medicare Benefit

Policy Manual, Chapter 15, § 50.4.2.

      112.    Cahaba did not issue any local coverage determinations regarding EDTA

that were in effect during the relevant time period. Moreover, Cahaba never determined

that EDTA for non-indicated uses was medically accepted.

      113.    The only indicated uses on the FDA approved label for EDTA are for the

reduction of blood levels and depot stores of lead in lead poisoning (acute and chronic)

and lead encephalopathy, in both pediatric populations and adults.




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        114.   Moreover, in 2003, CMS published a National Coverage Determination

(“NCD”) informing the public that Medicare does not cover chelation when used as an

“experimental” treatment. Medicare National Coverage Determinations Manual, § 20.22.

        115.   Specifically, NCD 20.22 provides that, “the use of EDTA as a chelating agent

to treat atherosclerosis, arteriosclerosis, calcinosis, or similar generalized conditions not listed

by the FDA as an approved use is not covered. Any such use of EDTA is considered experimental.

(emphasis added.)

        116.   Therefore, Medicare only covers the use of EDTA for lead poisoning or lead

encephalopathy.

        117.   Between November 2008 and September 2012, Defendants knew that

Medicare only covers the use of EDTA for lead poisoning or lead encephalopathy, and

did not cover “experimental” uses of EDTA. 16

    PRIVATE INSURERS GENERALLY DO NOT COVER “ALTERNATIVE” OR
              “EXPERIMENTAL” EDTA CHELATION THERAPY.
        118.   Similarly, several large private insurers have found “alternative” uses of

chelation therapy to be medically unnecessary and/or non-efficacious, and therefore not

covered by insurance.

        119.   For instance, while Aetna considers chelation medically necessary to treat

“heavy metal poisoning[,]” its position is that chelation with respect to other conditions



   16 Indeed, prior to administering EDTA chelation therapy, Dr. Adams required
patients to sign consents, wherein the patient had to acknowledge that, “…this therapy
may be considered experimental by…Medicare[,]” and that “…if Medicare…[does] not
reimburse for this therapy, the fees are my responsibility.”


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(e.g., cancer, heart disease, autism, Alzheimer’s) is not covered, as “[t]he safety and

effectiveness of this treatment for these indications has not been established.”

       120.     Additionally, Blue Cross Blue Shield has also issued several policy

statements regarding chelation, including one for North Carolina, which includes the

following exclusions under a heading entitled “When Chelation Therapy is not

covered”:

       Chelation therapy is considered investigational, including, but not limited to, the
       following conditions:

            •   Heavy metal toxicity or iron or lead poisoning where toxic levels are not
                documented by standard testing methods.

            •   Atherosclerosis (e.g., coronary artery disease, peripheral vascular disease,
                secondary prevention in patients with myocardial infarction)

            •   Other indications not listed under “when chelation therapy is covered”

       121.     Similarly, WellCare explains that “chelation therapy is considered

medically necessary” for HMP when “…confirmed by appropriate laboratory results and

clinical findings consistent with toxicity,” but cautions that chelation “is considered

experimental and investigational” – and hence not covered, with respect to a variety of

conditions – e.g. vascular and/or artery disease, fatigue and arthritis.

       122.     Upon information and belief, Defendants were mailed certain of the

bulletins and provider statements referenced immediately above.




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       FOR YEARS, DR. ADAMS MARKETED AND ADMINISTERED
   INTRAVENEOUS EDTA CHELATION AS AN “ALTERNATIVE” THERAPY.

        123.   Dr. Adams is a self-described practitioner of integrative medicine, and has

actively advertised and administered chelation as an “alternative” or “integrative”

treatment for a myriad of conditions.

        124.   In approximately 1998, Dr. Adams moved his practice from Tennessee to

Georgia based upon his belief that Georgia had more liberal standards concerning what

type of treatments are appropriate for patients. 17

        125.   In or around 2001, on his webpage, and under the heading, “Where

alternative medicine is prevention[,]” Dr. Adams publicly stated that:

           •   Chelation Therapy with EDTA helps you feel younger by reversing the
               accelerated decline of your body. Chelation Therapy helps you achieve
               healthy aging.

           •   The tremendous benefits experienced by thousands and thousands of
               people in the areas of heart disease, cancer prevention, diabetes, and
               chronic fatigue make Chelation Therapy a logical and practical choice for
               those fortunate enough to take advantage of it.
        126.   Additionally, on his webpage, Dr. Adams has explicitly touted chelation as

an “alternative medical therapy,” which can be used as an “anti-aging” treatment, to



   17  As early as July 2000, Tennessee enacted laws, regulations and/or position
statements that provide that, “…the advertising of EDTA’s administration in any matter
to prevent or cure diseases or medical conditions other than laboratory documented
heavy metal poisoning/intoxication/toxicity, without support of the scientific literature
contained within the National Library of Medicine or certainly much more than anecdotal
evidence of its effective use in the treatment of a disease or medical condition for which
a licensee advertises it may be considered to be a violation of T.C.A. 63-9-111 (b) (3), and
(9) and/or the rules promulgated pursuant thereto.”



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“improve circulation problems,” and to “…stimulate bone growth, improve cholesterol

and lower blood pressure.”

       127.   Although NCD 20.22 explicitly provides that the use of EDTA as a

treatment for atherosclerosis and/or arteriosclerosis is excluded from Medicare coverage,

Dr. Adams has publicly marketed – e.g., via his webpage – EDTA chelation as a treatment

for these and similar heart conditions:

          •   Chelation therapy can be used along with most other therapies for cardiac-
              vascular disease.

          •   Common surgical bypass procedures repair only one artery at a time.
              Chelation therapy is comprehensive, improves circulation all over the
              body, and at a fraction of the cost of surgery.

          •   Chelation is a non-surgical treatment for heavy metal poisoning that has
              been found to be effective treating cases of poor circulation and hardening
              of the arteries.
       128.   Additionally, in his 2018 testimony, Dr. Adams stated that chelation is

effective in “improving vision, increasing energy, reducing headaches” and promoting

“an overall sense of well-being.”

       129.   Although chelation therapy is serious and potentially dangerous, on his

webpage, Dr. Adams explained that, “chelation therapy is delivered while the patient

relaxes in a recliner chair, perhaps watching TV, chatting, or reading[,]” and the basic

course of treatment is “thirty to forty treatments.”

  DR. ADAMS’ PRACTICES ARE CONTRARY TO THE MEDICAL CONSENSUS
 AND STANDARD OF CARE APPLICABLE TO LEAD POISONING AND OTHER
                          TYPES OF HMP.
       130.   The “alternative” chelation therapy marketed and administered by Dr.

Adams is contrary to the medical consensus and standard of care applicable to



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diagnosing and treating lead poisoning, which – along with lead encephalopathy – is the

only condition for which EDTA chelation is indicated.

                     Prior To Chelating Patients, Dr. Adams Failed
                          To Perform a Differential Diagnosis.

       131.   Prior to chelating patients, Dr. Adams routinely failed to conduct a viable

differential diagnosis. 18 Because few symptoms are strongly indicative of HMP, and most

HMP symptoms are associated with other ailments, a broad differential diagnosis should

be performed prior to concluding that a patient is symptomatic of, and/or actually

suffering from, HMP.

       132.   Dr. Adams’ failure to perform differential diagnoses prior to chelating

patients is consistent with the fact the patients he chelated generally affirmatively sought

him out seeking EDTA chelation as an “alternative” therapy for “circulation problems,”

as well as other conditions for which Dr. Adam’s marketed EDTA chelation as an

“alternative” or “integrative” treatment.

               Dr. Adams Chelated Patients That Had Not Been Recently
                       Or Acutely Exposed To Heavy Metals.
       133.   As noted above, testing a patient for heavy metal, rendering an HMP

diagnosis and chelating a patient, are all actions that are generally unwarranted absent

the patient having been recently and acutely exposed to a heavy metal, such as lead.




18Dr. Adams’ effort to perform differentials were limited to having patients circle
potential HMP symptoms listed on a document he drafted and routinely provided to
patients.



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        134.   Nevertheless, Dr. Adams routinely tested patients for heavy metal,

“diagnosed” such patients with HMP, and then chelated such patients (ostensibly to treat

HMP), despite the fact that such patients – as evidenced by the medical records – had not

been recently or acutely exposed to heavy metal. )

        135.   Instead, Dr. Adams sidestepped the essential “heavy metal exposure”

aspect of a valid HMP differential diagnosis with his supposition that, because of the

presence of lead in gasoline between 1930 and 1995, anyone that drove during this period

has been “exposed to lead,” and thus may be an appropriate candidate for heavy metal

testing and/or chelation therapy. 19

        136.   In fact, when asked how he would advise a patient that sought chelation,

but had no possible exposure to lead other than the use of the roads, Dr. Adams

responded that he would advise such a patient that, “Chelation therapy is a reasonable

therapy to try.”

        Dr. Adams Chelated Patients On The Basis Of Discredited And Unreliable
                                Provoked Urine Tests.
        137.   Further, whereas the medical consensus is that blood tests are the most

accurate and reliable means of assessing the amount of lead and other heavy metals in a

patient’s body, Dr. Adams admitted that he ordered blood tests only to avoid problems




   19 While lead poisoning is a rare condition, pursuant to Dr. Adams’ dubious highway
construct, enormous swathes of the public were “exposed” to lead by using the roads and
are thus conceivable candidates for Dr. Adams’ chelation therapy.


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with the medical board, and did not base his decision whether to chelate a patient on

blood tests results. 20

        138.    Instead, in marketing and administering chelation to patients, Dr. Adams

routinely relied upon provoked urine tests, and utilized the results of such tests to

convince patients that they had “elevated” levels of heavy metal, which could be reduced

by EDTA chelation, thereby alleviating a myriad of health conditions.

        139.    In utilizing provoked urine tests, Dr. Adams ignored the medical consensus

that such tests are unreliable, potentially dangerous, and should therefore not be used to

advise a patient that either heavy metal testing or chelation is warranted.

               In Contravention Of The Standard Of Care, Dr. Adams Chelates
                            Patients For As Long As They Want.
        140.    Whereas the standard of care associated with HMP provides that chelation

therapy should be of a prescribed and limited duration, and tied to a patient’s laboratory

confirmed levels of heavy metal, Dr. Adams – by his own admission – chelates patients

for as long the patient wants. 21

        141.    For instance, Dr. Adams chelated an 83 year old Medicare beneficiary with

the initials “M.D.” 36 times between March 2, 2009 and December 30, 2009.

        142.    When asked why this patient had been chelated so many times, Dr. Adams

– a licensed physician – replied that, “Her call, she feels badly.”

   20Similarly, for a certain period of time, Dr. Adams also ordered traditional urine test,
but did not base his treatment decisions on the basis of such test, and ordered them to
avoid problems with the medical board.
   21 Additionally, Dr. Adams does not stop chelation treatments on the basis of lab
results.


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        143.   Indeed, the medical records reveal that Dr. Adams chelated certain patients

108, 117 and 168 times.

        144.   Specifically, between March 5, 2009 and February 6, 2012, Dr. Adams

chelated a 71 year old Medicare beneficiary with the initials “G.P.” 108 times.

        145.   Additionally, between March 16, 2009 and October 15, 2010, Dr. Adams

chelated an 81 year old Medicare beneficiary with the initials “E.H.” 117 times.

        146.   Finally, between March 16, 2009 and January 17, 2012, Dr. Adams chelated

a 68 year old patient with the initials “W.D.” 168 times.

     DR. ADAMS ADMITTED THAT HE DOES NOT DIAGNOSE OR TREAT LEAD
                         POISONING OR HMP.
        147.   Aware that his practices do not conform to the standard of care for

diagnosing and treating lead poisoning or other types of HMP, in sworn testimony in

2017, Dr. Adams admitted that he does not diagnose or treat lead poisoning or other

forms of HMP, but rather treats an altogether different condition that he identified as

“excess body burden of heavy metals.”

        148.   Specifically, when asked when it would be necessary to treat a patient for

lead poisoning, Dr. Adams testified that, “I don’t treat patients for lead poisoning[,] I treat

them for excess body burden of heavy metals.” 22



22Indeed, during his 2017 testimony, Dr. Adams was unable to articulate the standard of
care for treating lead poisoning. When asked to describe the difference between lead
poisoning and “excess body burden of heavy metals,” Dr. Adam’s replied, “[t]he
emergency room.” Additionally, Dr. Adams admitted that different BLLs are associated
with actual lead poisoning, as opposed to having an “excess body burden of lead.”



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      149.   Similarly, Dr. Adams admitted that he did not treat heavy metal toxicity,

and acknowledged it would be improper for him to submit bills to the Government for

heavy metal toxicity: “[w]e know better than to diagnose heavy metal toxicity[,]” “[w]e

know better than to use any type of toxicity.”

      150.   However, between November 2008 and September 2015, Dr. Adams

submitted, and/or caused to be submitted, thousands of claims to Medicare, wherein he

did – in fact – seek reimbursement for chelation therapy that he indicated – through the

use of ICD-9 Codes associated with lead poisoning or other forms of HMP (e.g. 9848-Toxic

Effect Other Lead Compounds, 9840-Toxic Effect Inorganic Lead Compounds) – was

provided to patients suffering from lead poisoning or another form of heavy metal

toxicity, which he now concedes are conditions that he does not diagnose or treat.

 DR. ADAMS VIOLATED THE FCA BY FALSELY CLAIMING $1.5 MILLION FOR
  “ALTERNATIVE” AND MEDICALLY UNCESSARY CHELATION THERAPY

   To Secure Medicare Reimbursements For “Alterative” Or Experimental Chelation
Treatments, Dr. Adams Mischaracterized Them As Treatments For Lead Poisoning And
                              Other Forms Of HMP.

      151.   Between November 2008 and September 2015, Dr. Adams perpetrated a

fraud against the United States by submitting claims for medically unnecessary and

non-covered chelation and associated services to Medicare in order to obtain Medicare

reimbursements for these services.

      152.   Additionally, Dr. Adams knew that EDTA chelation is only indicated for

adult patients with significantly heightened BLLs (e.g., in excess of 50 mcg/dL).




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      153.   Additionally, Dr. Adams had knowledge that EDTA chelation is only

indicated for adult patients with significantly heightened BLLs (e.g., in excess of 50

mcg/dL or 80 mcg/dL).

      154.   For years, however, Defendants submitted and/or caused to be submitted

claims for EDTA chelation that was marketed and administered as an “alternative

medical therapy,” which can be used, inter-alia, as an “anti-aging” treatment, to “improve

circulation problems,” and to “…stimulate bone growth, improve cholesterol and lower

blood pressure.”

      155.   Dr. Adams knew that such “alternative” chelation therapy is not covered

under Medicare.

      156.   Nevertheless, between November 2008 and September 2015, Dr. Adams

routinely billed Medicare for his alternative chelation therapy.

      157.   Pursuant to his scheme, between November 2008 and September 2015, Dr.

Adams submitted approximately 4500 claims to the Government seeking reimbursement

for chelation therapy that he represented was medically necessary.

      158.   However, although Dr. Adams caused the submission of claims to the

Government that made the specific representation (using ICD-9 diagnostic codes

associated with lead poisoning other forms of HMP – e.g., 9848 – Toxic Effect Other Lead

Compounds), the Defendants knowingly failed to disclose that:

          a. They did not actually treat lead poisoning or other forms of HMP, but an

             altogether different condition called “excess body burden of heavy metals.”




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          b. They utilized EDTA chelation as an alternative or experimental treatment

             for conditions such as heart disease and poor circulation, which is excluded

             from Medicare coverage by NDC 20.22.

          c. They utilized EDTA chelation as a treatment for conditions other than lead

             poisoning and lead encephalopathy, which are the only two conditions for

             which the FDA has approved EDTA as a treatment.

          d. The chelation treatments were neither reasonable nor necessary as the

             patients chelated were not suffering from lead poisoning or any other form

             of HMP.

          e. Defendants’ omission of the aforementioned information from the

             chelation claims that they submitted to the Government caused them to be

             false.

    Dr. Adams’ Chelation Claims Were False As He Falsely Claimed That He Was
      Chelating Patients To Treat Lead Poisoning And/Or Other Types of HMP

      159.    Dr. Adams filed claims that falsely indicated that reimbursement was

sought for chelation treatments provided to patients suffering lead poisoning or another

form of HMP, when in truth, Dr. Adams – by his own admission – was not treating lead

poisoning or another form of HMP, but a different condition that he called “excess body

burden of heavy metals.”

      160.   Specifically, through the use of ICD-9 Codes associated with lead poisoning

and other forms of HMP – e.g. 9848-Toxic Effect Other Lead Compounds, 9840-Toxic

Effect Inorganic Lead Compounds – Dr. Adams repeatedly represented in claims




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submitted to the Government that he was seeking reimbursement for chelation

treatments provided to patients suffering from lead poisoning or another form of HMP.

           161.   These statements to Medicare were false under the FCA as Dr. Adams was

not treating Medicare beneficiaries for HMP or lead poisoning as the ICD-9 Codes

indicated, but was chelating patients as an “alternative” or “experimental” remedy for a

myriad of different conditions, such as “fatigue,” “anti-aging,” “excess body burden of

heavy metals,” and “circulation problems.”

           162.   As an example, on July 25, 2011, Dr. Adams submitted a $376.53 claim for

reimbursement to Medicare – which was paid on July 28, 2011 – for chelation therapy that

the medical records reflect that he provided to a 66 year old Medicare beneficiary with

the initials “C.S.” (Patient C.S.) on February 23, 2010.    23   In submitting the claim, Dr.

Adams utilized the HCPCS code for EDTA (J0600) (as well as various additional CPT and

HCPCS codes associated the intravenous administration of the EDTA) 24 and ICD-9 Code

9948 – “Toxic Effects Lead Compounds.”

              a. This claim was false as, inter-alia, the ICD-9 Code associated with the claim

                  was false and/or misleading.




     23   Patient C.S. was chelated a total of 45 times from 7/28/09 through 2/28/12.
24Specifically, Defendants also billed the Government for the following codes: J7040 and
J7050 - Normal Saline Solution, 96365, 96366, and 96367 Injection/Infusion Codes, A4209-
Syringe and Needle 99212 (Modifier 25)- Office/ Outpatient Visit, Est. J470- Dimercaprol
Injection (BAL) 36415- Routine Venipuncture.




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        i. First, Dr. Adams has admitted that he does not treat lead poisoning

          or lead toxicity (see, ¶__), and the use of the ICD-9 Code 9948 – “Toxic

          Effects Lead Compounds” is therefore false and misleading.

              1. Indeed, Dr. Adams admitted that he treats an altogether

                 different condition that he called “excess body burden of

                 heavy metal.”

       ii. Second, Patient C.S. complained of no present symptoms and came

          in specifically to be chelated.

      iii. Third, Dr. Adams failed to conduct a differential diagnosis to

          determine whether chelation was warranted with respect to Patient

          C.S.

      iv. Fourth, the medical records do not reflect that Patient C.S. had

          recently been acutely exposed to lead, even though such exposure is

          an integral component of a lead poisoning diagnosis.

       v. Fifth, a blood test administered to Patient C.S. on February 23, 2010

           detected no lead in the blood.       This was the only blood test

           administered to Patient C.S. prior to (or contemporaneously with)

           the February 23, 2010 chelation therapy. (Chelation is only possibly

           indicated for patients with BLLs greater than 50 mcg/dL

           (symptomatic patient) or 80 mcg/dL (asymptomatic patient).

           Clinical symptoms in patients with BLLs less than 40 mcg/dL are

           not likely attributable to lead poisoning. The medical consensus is

           that no action whatsoever – e.g., medication, counseling, reduced

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                    exposure, ect. – is necessary with respect to adult patients with BLLs

                    less than 5 mcg/dL.)

                vi. Sixth, Dr. Adams chelated Patient C.S. at least partly on the basis of

                    the results of an inherently unreliable provoked urine test that was

                    administered on February 23, 2010.

      163.   Had CMS known that, although Dr. Adams’ claims sought reimbursement

for chelation treatments that were affirmatively described – through the use of ICD-9

Codes associated with lead poisoning or another form of HMP – as having been rendered

to treat patients suffering from lead poisoning or another form of HMP, when, in truth,

the treatments were for other conditions, such as “excess body burden of heavy metals,”

it would not have paid the claims.

         Dr. Adams Knowingly Submitted Claims To Medicare For Chelation
              Therapy That Was Excluded From Coverage By NCD 20.22.
      164.   Additionally, as Dr. Adams is a self-described practitioner of “alternative”

medicine, and administers EDTA chelation as an “alternative” remedy for several

conditions such as “fatigue,” “excess body burden of heavy metals,” and “circulation

problems[,]”his chelation claims are    false as they seek reimbursement for services

excluded from Medicare coverage by CMS’s NCD 20.22, pursuant to which “alternative”

or experimental chelation therapy is not covered by Medicare.

      165.   The medical records indicate, and Dr. Adams has admitted, that Dr. Adams

did not chelate patients suffering from lead poisoning or another form of HMP as his

claims to Medicare indicated. Instead, the record – which includes, but is not limited to

– Dr. Adams’ approximately 20 year history of explicitly marketing chelation as an



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“alternative” remedy for a host of diverse ailments demonstrates that Dr. Adams utilized

chelation as an experimental therapy for several conditions, even though such

experimental chelation therapy is specifically excluded from Medicare coverage by NCD

20.22

           166.   For instance, on October 21, 2011, Dr. Adams submitted a $413.86 claim for

reimbursement to Medicare – which was paid October 26, 2011 – for chelation therapy

that the medical records reflect that he provided to a 67 year old Medicare beneficiary

with the initials “J.H.” (Patient J.H.) on October 18, 2011. 25 In submitting the claim, Dr.

Adams utilized the HCPCS code for EDTA (J0600) (as well as various additional CPT and

HCPCS codes associated the intravenous administration of the EDTA) 26 and ICD-9 Code

9948 – “Toxic Effects Lead Compounds.”

              a. This claim was false as, inter-alia, Patient J.H. was not suffering from lead

                  poisoning as indicated, but was instead seeking chelation as an

                  “alternative” or “experimental” treatment of the type publicly espoused

                  and marketed by Dr. Adams, but which is excluded from Medicare

                  coverage by NDC 20.22.

                     i. First, Dr. Adams has admitted that he does not treat lead poisoning

                        or lead toxicity, and the use of the ICD-9 Code 9948 – “Toxic Effects

                        Lead Compounds” is therefore false and misleading.

     25   Patient J.H. was chelated a total of 95 times from 11/13/08 through 3/7/12.
26The following codes were also billed to the Government: J7040, J7050 and J7060-
Normal Saline Solution and Dextrose/Water, 96365, 96366, and 96367- Injection/Infusion
Codes, J1212- Dimethyl Sulfoxide (50%) 50ml.



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              1. Indeed, Dr. Adams admitted that he treats an altogether

                 different condition that he called “excess body burden of

                 heavy metal.”

       ii. Second, Patient J.H. complained of only generalized symptoms - e.g.,

          visual changes, shortness of breath, urinary urgency, swelling in legs

          and various other symptoms – none of which were strongly

          suggestive of lead poisoning.

      iii. Third, Dr. Adams failed to conduct a differential diagnosis to

          determine whether Patient J.H’s symptoms were related to a

          condition other than ICD-9 Code 9948 – “Toxic Effects Lead

          Compounds” – i.e., lead poisoning.

      iv. Fourth, a June 22, 2011 blood test administered to Patient J.H.

          detected no lead in the blood. An earlier, February 22, 2010 blood

          test also detected no lead in Patient J.H.’s blood. These are the only

          two blood test that were administered to Patient J.H. prior to the

          October 18, 2011 chelation therapy.     (Chelation is only possibly

          indicated for patients with BLLs greater than 50 mcg/dL

          (symptomatic patient) or 80 mcg/dL (asymptomatic patient).

          Clinical symptoms in patients with BLLs less than 40 mcg/dL are

          not likely attributable to lead poisoning. The medical consensus is

          that no action whatsoever – e.g., medication, counseling, reduced

          exposure, ect. – is necessary with respect to adult patients with BLLs

          less than 5 mcg/dL.)

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                  v. Fifth, Dr. Adams chelated Patient J.H. at least partly upon the results

                     of an inherently unreliable provoked urine test that was

                     administered on June 29, 2011. An earlier provoked urine test was

                     conducted on February 22, 2010.

          b. As the medical records plainly demonstrate that Patient J.H was not

             suffering from lead poisoning or lead encephalopathy (the only two

             conditions for which EDTA chelation indicated), Dr. Adams’ plainly

             chelated Patient J.H. to treat a “…generalized condition not listed by the

             FDA as an approved use[,]” which constitutes an “experimental” use of

             EDTA that is explicitly excluded from Medicare coverage by NCD 20.22.

      167.   In    promulgating     NDC      20.22,   CMS    expressly   announced     that

“experimental” EDTA chelation therapy was excluded from Medicare coverage. Hence.

had CMS known that Dr. Adams’ claims actually sought reimbursement for “alternative”

and/or “experimental” chelation therapy that is excluded from coverage under NCD

20.22, it would not have paid such claims.

         Dr. Adams Knowingly Submitted Claims To Medicare For Chelation
           Therapy Not Indicated By The FDA Approved Label For EDTA.
      168.   As Dr. Adams was aware, Medicare does not reimburse providers that

utilize medications for uses not indicated on the medication’s FDA approved label unless

specifically allowed by the MAC.

      169.   The FDA approved label for EDTA explicitly states that EDTA is indicated

only for lead poisoning and lead encephalopathy:




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   •     Edetate calcium disodium is indicated for the reduction of blood levels and depot
         stores of lead in lead poisoning (acute and chronic) and lead encephalopathy, in
         both pediatric populations and adults.
         170.   Nevertheless, Dr. Adams’ extensive history of marketing chelation as an

“alternative” remedy demonstrates that Dr. Adams chelated patients as “alternative” or

“experimental” therapy for a host of conditions – e.g., heart disease, fatigue, cancer

prevention – other than lead poisoning and lead encephalopathy.

         171.   As an example, on August 25, 2010, Dr. Adams submitted a $349.05 claim

for reimbursement to Medicare – which was paid on August 27, 2010 – for chelation

therapy that the medical records reflect that he provided to a 68 year old patient with the

initials “W.D.” (Patient W.D.) on August 20, 2010. 27 In submitting the claim, Dr. Adams

utilized the HCPCS code for EDTA (J0600) (as well as various additional CPT and HCPCS

codes associated the intravenous administration of the EDTA) 28 and ICD-9 Code 9948 –

“Toxic Effects Lead Compounds.”

            a. This claim was false as, inter-alia, Patient W.D. was not suffering from lead

                poisoning or another form of HMP, and received EDTA chelation for an

                “off-label,” non-FDA approved purpose.

                   i. First, Dr. Adams has admitted that he does not treat lead poisoning

                      or lead toxicity, and the use of the ICD-9 Code 9948 – “Toxic Effects

                      Lead Compounds” is therefore false and misleading.




   27   Patient W.D. was chelated a total of 168 times from 3/16/09 through 1/17/12.
   28 The following codes were also billed to the Government: J7040 and J7050- Normal
Saline Solution, 96365, 96366, and 96367- Injection/Infusion Codes.


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             1. Indeed, Dr. Adams admitted that he treats an altogether

                different condition that he coined “excess body burden of

                heavy metal.”

       ii. Second, Patient W.D. specifically came in to be chelated and

          complained of no present symptoms.

      iii. Third, Dr. Adams failed to conduct a differential diagnosis to

          determine whether EDTA chelation was medically warranted with

          respect to Patient W.D.

      iv. Fourth, the medical records do not reflect that Patient W.D. had

          recently been acutely exposed to lead or heavy metal, even though

          such exposure is an integral component of a lead poisoning

          diagnosis.

       v. Fifth, a blood test administered to Patient W.D. on March 4, 2010

          detected only 1 mcg/dL in the blood. This was the only blood test

          administered to Patient W.D. prior to his August 20, 2010 chelation

          therapy. (Chelation is only possibly indicated for patients with BLLs

          greater than 50 mcg/dL (symptomatic patient) or 80 mcg/dL

          (asymptomatic patient). Clinical symptoms in patients with BLLs

          less than 40 mcg/dL are not likely attributable to lead poisoning.

          The medical consensus is that no action whatsoever – e.g.,

          medication, counseling, reduced exposure, ect. – is necessary with

          respect to adult patients with BLLs less than 5 mcg/dL.)




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                  vi. Sixth, Dr. Adams chelated Patient W.D. at least partly on the basis of

                      the results of an inherently unreliable provoked urine test that was

                      administered on March 4, 2010.

            b. As the medical records demonstrate that Patient W.D was not suffering

                from lead poisoning or lead encephalopathy (the only two conditions for

                which EDTA chelation indicated), Dr. Adams plainly chelated Patient W.D.

                in connection with an “off-label,” non-FDA approved uses of EDTA, which

                are excluded from Medicare coverage.

         172.   Also, on July 25, 2011, Dr. Adams submitted a $329.70 claim for

reimbursement to Medicare – which was paid on July 28, 2011 – for chelation therapy that

the medical records reflect that he provided to an 83 year old patient with the initials

“M.D.” (Patient M.D.) on February 24, 2010.        29   In submitting the claim, Dr. Adams

utilized HCPCS code J0600 for EDTA (as well as various additional CPT and HCPCS

codes associated with the intravenous administration of the EDTA) 30 and ICD-9 Code

9851- “Toxic Effect Arsenic.”

            a. This claim was false as Dr. Adams has admitted that he does not treat heavy

                metal poisoning or toxicity, and the use of the ICD-9 Code 9851- “Toxic

                Effect Arsenic” is therefore false and misleading.



29   Patient M.D. was chelated a total of 127 times between 3/2/09 and 3/21/12.
30The Government was also billed for the following codes: J7040 and J7050- Normal
Saline Solution, 96365, 96366, and 96367- Injection/Infusion Codes, A4209- Syringe and
Needle, 99212 (Modifier 25)-Office/ Outpatient Visit, Est.



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                 i. Indeed, Dr. Adams admitted that he treats an altogether different

                    condition that he coined “excess body burden of heavy metal.”

          b. Additionally, the claim is false as the FDA has not approved EDTA for use

             in treating arsenic poisoning, and Dr. Adam’s purported use of EDTA for

             this purposes constitutes an “off-label,” non-FDA approved use of EDTA,

             which is excluded from Medicare coverage.

      173.   Medicare does not reimburse providers for uses of a drug that go beyond

their FDA specified indications, as they appear on the manufacturer’s label for the drug

unless specifically approved by CMS. Hence, had CMS known that Dr. Adams’ claims

actually sought reimbursement for “off-label” and non-FDA approved uses of EDTA, it

would not have paid such claims.

   Dr. Adams Knowingly Submitted Claims To Medicare For Medically Unnecessary
                              Chelation Therapy.

      174.   Dr. Adams’ chelation claims for chelation treatments were not medically

indicated and necessary for the health of the patient.

      175.   In claims that Dr. Adams submitted or caused to be submitted to the

Government, through the use of ICD-9 Codes associated with lead poisoning and other

forms of HMP, Dr. Adams indicated that the pertinent chelation treatments were

provided to patients suffering from HMP.

      176.   In claims that Dr. Adams submitted or caused to be submitted to the

Government Dr. Adams indicated that the pertinent chelation treatments were medically

necessary.




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         177.   In truth, Dr. Adams’ chelation treatments were not medically necessary, as

the medical records indicate that the applicable patients were not suffering from HMP

(e.g., lead poisoning).

         178.   Specifically, the Medicare beneficiaries Dr. Adams chelated did not present

with symptoms indicative of HMP, and most sought chelation as an “alternative”

treatment for conditions other than HMP, such as circulation and heart problems.

         179.   Moreover, Dr. Adams chelated Medicare beneficiaries with no viable

history of exposure to heavy metals, which is an indispensable element of a valid HMP

diagnosis.

         180.   Further, despite the fact that lead poisoning is exceedingly rare amongst the

elderly, the overwhelming majority of the patients chelated by Dr. Adams were the age

of 62 or older.

         181.   Finally, and fundamentally, Dr. Adams chelated patients with extremely

low BLLs (e.g., 2 mcg/dL, or less), while chelation is only possibly indicated for BLLs of

in excess of 50 (symptomatic patient) 80 (asymptomatic patient) mcg/dL, and the

medical consensus is that, with respect to patients with BLLs less than 5mcg/dL – no

action whatsoever is medically necessary.

         182.   For instance, on November 8, 2013, Dr. Adams submitted a $242.67 claim

for reimbursement to Medicare – which was paid on November 14, 2013 – for chelation

that the medical records reflect that he provided to a 63 year old patient with the initials

“J.A.” (Patient J.A.) on November 6, 2013.31 In submitting the claim, Dr. Adams utilized


   31   Patient J.A. was chelated a total of 67 times from 4/23/13 to 9/30/15.


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the HCPCS code for EDTA (J0600) (as well as various additional CPT and HCPCS codes

associated with the intravenous administration of the EDTA) 32 and ICD-9 Code 9948 –

“Toxic Effects Lead Compounds.”

          a. This claim is false as the chelation treatments were medically unnecessary

             as Patient J.A. was not suffering from lead poisoning.

                 i. First, Dr. Adams has admitted that he does not treat lead poisoning

                    or lead toxicity, and the use of the ICD-9 Code 9948 – “Toxic Effects

                    Lead Compounds” is therefore false and misleading.

                       1. Indeed, Dr. Adams admitted that he treats an altogether

                          different condition that he called “excess body burden of

                          heavy metal.”

                ii. Second, Patient J.A. complained of generalized symptoms – e.g., arm

                    and neck pain, breathing problems, constipation and change in

                    mood – that are not strongly suggestive of lead poisoning.

               iii. Third, Third, Dr. Adams failed to conduct a differential diagnosis to

                    determine whether Patient J.A.’s symptoms were related to a

                    condition other than ICD-9 Code 9948 – “Toxic Effects Lead

                    Compounds” – i.e., lead poisoning.




32The Government was also billed for the following codes: J7040-Normal Saline Solution,
96365 and 96366-Injection/Infusion Codes.




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                iv. Fourth, the medical records do not reflect that Patient J.A. had

                    recently been acutely exposed to lead or heavy metal, even though

                    such exposure is an integral component of a lead poisoning

                    diagnosis. 33

                v. Fifth, a blood test administered to Patient J.A. on April 29, 2013

                    detected a BLL of only 2 mcg/dL. The medical records indicate that

                    this was the only blood test Dr. Adams ordered for Patient J.A.

                    (Chelation is only possibly indicated for patients with BLLs greater

                    than 50 (symptomatic patient) or 80 (asymptomatic patient) mcg/dL.

                    Clinical symptoms in patients with BLLs less than 40 mcg/dL are

                    not likely attributable to lead poisoning. The medical consensus is

                    that no action whatsoever – e.g., medication, counseling, reduced

                    exposure, ect. – is necessary with respect to adult patients with BLLs

                    less than 5 mcg/dL.)

                vi. Sixth, Dr. Adams chelated Patient J.A. at least partly on the basis of

                    the results of an inherently unreliable provoked urine test that was

                    administered on August 8, 2013.

      183.   Similarly, on July 18, 2011, Dr. Adams submitted a $399.65 claim for

reimbursement to Medicare – which was paid on July 21, 2011 – for chelation therapy that

the medical records reflect that he provided to a 62 year old patient with the initials


33 Indeed, Dr. Adams testified that his main reason for chelating this patient was the
patient’s 45- year exposure to lead gasoline from driving on the highway in a “cloud of
lead.” Dr. Adams made this determination based on Patient J.A.’s birth year of 1950.


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“M.B.” (Patient M.B.) on July 13, 2011. 34 In submitting the claim, Dr. Adams utilized

HCPCS code J0600 for EDTA (as well as various additional CPT and HCPCS codes

associated with the intravenous administration of the EDTA) 35 and ICD-9 Code 9948 –

“Toxic Effects Lead Compounds.”

            a. This claim was false as the chelation treatments were medically

               unnecessary as Patient M.B. was not suffering from lead poisoning.

                   i. First, Dr. Adams has admitted that he does not treat lead poisoning

                      or lead toxicity, and the use of the ICD-9 Code 9948 – “Toxic Effects

                      Lead Compounds” is therefore false and misleading.

                         1. Indeed, Dr. Adams admitted that he treats an altogether

                             different condition that he coined “excess body burden of

                             heavy metal.”

                   ii. Second, Patient M.B. complained of generalized symptoms - e.g.,

                      arthritis pain and fatigue - that are not strongly suggestive of lead

                      poisoning.

                  iii. Third, Dr. Adams failed to conduct a differential diagnosis to

                      determine whether Patient M.B.’s symptoms were related to a

                      condition other than ICD-9 Code 9948 – “Toxic Effects Lead

                      Compounds” – i.e., lead poisoning.



   34   Patient M.B. was chelated a total of 62 times between 1/13/09 and 4/14/12.
   35The Government was also billed for: J7040 and J7050 - Normal Saline Solution,
96365, 96366, and 96367- Injection/Infusion Codes, J470- Dimercaprol Injection (BAL).


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                iv. Fourth, the medical records do not reflect that Patient M.B. had

                     recently been acutely exposed to lead or heavy metal, even though

                     such exposure is an integral component of a lead poisoning

                     diagnosis

                 v. Fifth, blood tests administered to Patient M.B. on March 10, 2010 and

                     March 23, 2011 detected no lead in the blood. These were the only

                     blood test administered to Patient M.B. prior to the July 13, 2011

                     chelation therapy.    The medical records do not reflect that any

                     additional blood test were administered to Patient M.B. (Chelation

                     is only possibly indicated for patients with BLLs greater than 50

                     mcg/dL (symptomatic patient) or 80 mcg/dL (asymptomatic

                     patient).   Clinical symptoms in patients with BLLs less than 40

                     mcg/dL are not likely attributable to lead poisoning. The medical

                     consensus is that no action whatsoever – e.g., medication, counseling,

                     reduced exposure, ect. – is necessary with respect to adult patients

                     with BLLs less than 5 mcg/dL.)

                vi. Sixth, Dr. Adams chelated Patient M.B. at least partly on the basis of

                     the results of an inherently unreliable provoked urine test that was

                     administered on March 3, 2010 and March 23, 2011.

       184.   Similarly, on May 29, 2012, Dr. Adams submitted a $315.37 claim for

reimbursement to Medicare – which was paid on June 1, 2012 – for chelation therapy that

the medical records reflect that he provided to a 66 year old patient with the initials J.B.




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(Patient J.B.) on May 24, 2012. 36 In submitting the claim, Dr. Adams utilized HCPCS code

J0600 for EDTA (as well as various additional CPT and HCPCS codes associated with the

intravenous administration of the EDTA) 37 and ICD-9 Code 9948 - “Toxic Effects Lead

Compounds.”

             a. This claim was false as the chelation treatments were medically

                unnecessary as Patient J.B. was not suffering from lead poisoning.

                    i. First, Dr. Adams has admitted that he does not treat lead poisoning

                       or lead toxicity, and the use of the ICD-9 Code 9948 – “Toxic Effects

                       Lead Compounds” is therefore false and misleading.

                           1. Indeed, Dr. Adams admitted that he treats an altogether

                              different condition that he coined “excess body burden of

                              heavy metal.”

                   ii. Second, Patient J.B. complained of generalized symptoms - e.g.,

                       shortness of breath and an irregular heart beat - that are not strongly

                       suggestive of lead poisoning.

                   iii. Third, Dr. Adams failed to conduct a differential diagnosis to

                       determine whether Patient J.B.’s symptoms were related to a




36   Patient J.B. was chelated a total of 49 times from 4/20/12 to 1/2/14.
37Specifically, in addition to EDTA, the Government was also billed for: J7040 - Normal
Saline Solution, 96365, 96366, and 96367- Injection/Infusion Codes, J470-Dimercaprol
Injection (BAL), 36415- Routine Venipuncture.



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                    condition other than ICD-9 Code 9948 – “Toxic Effects Lead

                    Compounds” – i.e., lead poisoning.

                iv. Fourth, the medical records do not reflect that Patient J.B. had

                    recently been acutely exposed to lead or heavy metal, even though

                    such exposure is an integral component of a lead poisoning

                    diagnosis.

                v. Fifth, a blood test administered to Patient J.B. on April 20, 2012 (in

                    connection with Patient J.B.’s first chelation appointment with Dr.

                    Adams) detected a BLL of only 1 mcg/dL in the blood. The medical

                    records do not reflect that any additional blood test were

                    administered to Patient J.B. (Chelation is only possibly indicated for

                    patients with BLLs greater than 50 mcg/dL (symptomatic patient) or

                    80 mcg/dL (asymptomatic patient). Clinical symptoms in patients

                    with BLLs less than 40 mcg/dL are not likely attributable to lead

                    poisoning. The medical consensus is that no action whatsoever – e.g.,

                    medication, counseling, reduced exposure, ect. – is necessary with

                    respect to adult patients with BLLs less than 5 mcg/dL.)

                vi. Sixth, Dr. Adams chelated Patient J.B. at least in part on the basis of

                    the results of an inherently unreliable provoked urine test that was

                    administered on April 20, 2012.

      185.   Pursuant to 41 U.S.C. § 1395y(a)(1)(A), Medicare only covers drugs and

services that are “reasonable and necessary for the diagnosis and treatment of illness or



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injury.” Hence, had CMS known that Dr. Adams’ claims involved medically unnecessary

chelation therapy, it would not have paid the claims.

   THE FALSITY ASSOCIATED WITH DEFENDANTS’ CLAIMS IS MATERIAL.

       186.    The FCA defines material as “having a natural tendency to influence, or be

capable of influencing, the payment or receipt of money or property.”

       187.    In both the common law and FCA understandings of materiality, one

“look[s] to the effect on the likely or actual behavior of the recipient of the alleged

misrepresentation.” Absent special knowledge, if a misrepresentation is such that it

would reasonably change a person's decision making process, then it is material. See,

U.S. v. Public Warehousing Company, 2017 WL 1021745, *5-6, (N.D. Ga. March 16, 2017)

(Citing to Universal Health Servs., Inc. v. United States, 136 S. Ct. 1989 (2016), court rejected

defendants’ assertion that Government had not demonstrated materiality.)

       188.    The falsity associated with Defendants’ false claims was not trivial, but

material, as evidenced by the fact that the Government has actively promulgated statutes,

rules and/or regulations to exclude certain items and services – such as those reflected in

Defendants claims – from Medicare coverage, and also would refuse to pay claims for items

and services that are excluded from coverage pursuant to these statutes, rules and

regulations.

        DEFENDANTS KNOWINGLY SUBMITTED FALSE CLAIMS TO THE
                         GOVERNMENT.

       189.    Defendants submitted (or caused the submission of) the aforementioned

false claims to the Government with knowledge of the falsity within the meaning of the

FCA. Specifically, Defendants submitted the claims with “actual knowledge” of, or were


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“recklessly indifferent” or “deliberately ignorant” to, the falsity associated with such

claims.

      190.    Defendants knowingly, within the meaning of the FCA, submitted claims

to the Government that were not medically necessary and associated with “alternative,”

“integrative” or “experimental” treatments and/or conditions that were excluded from

coverage under Medicare as they were experimental, and precluded from coverage by

NCD 20.22.

      191.    Defendants knowingly, within the meaning of the FCA, submitted claims

to the Government using ICD-9 codes indicating that the claims were associated with

patients suffering from lead poisoning or other forms of HMP, when in truth, Defendants

did not treat lead poisoning or other forms of HMP, but a different condition called

“excess body burden of heavy metals.”

                COUNT I:      VIOLATIONS OF THE FALSE CLAIMS ACT
                                 31 U.S.C. § 3729(a)(1)(A)
      192.    The United States re-asserts all previous allegations as if set forth herein.

      193.    Defendants knowingly presented, or caused to be presented, to officers or

employees of the United States Government, false or fraudulent claims for payment of

medications and services in connection with their chelation treatment of Medicare

beneficiaries. Defendants’ claims were false and/or constitute “misleading half-truths”

in that they erroneously indicated that reimbursement was sought for chelation therapy

that was provided as a treatment for patients suffering from lead poisoning or other

forms of HMP, when in truth, Dr. Adams – by his own admission – does not treat lead

poisoning or other forms of HMP. Additionally, the claims are false and/or constitute



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“misleading half-truths” in that they seek reimbursement for “alternative” uses outside

of the indications on the FDA-approved label for EDTA, and are thus are not covered by

Medicare. Finally, the claims are false and/or constitute “misleading half-truths” in the

Defendants falsely certified that the chelation treatments associated with such claims

were “medically indicated and necessary,” when in truth, the treatments were medically

unnecessary, as the patients chelated were not suffering from lead poisoning or another

form of HMP. In submitting or causing the submission of these claims, the Defendants

acted with actual knowledge, reckless disregard, or deliberate ignorance of the truth or

falsity of the claims.

       194.   The Defendants made – or caused to be made – express representations that

the chelation services for which he sought reimbursement were medically necessary to

treat patients suffering from HMP.         These representations were material to the

Government’s decision to pay Defendants’ claims.           When Defendants made these

representations, they knew that these representations were false, and would continue to

be false. Therefore, Defendants fraudulently induced CMS to pay claims for payment

that violated the FCA.

       195.   By virtue of these false or fraudulent claims, the United States suffered

damages in an amount to be determined at trial and is therefore entitled to treble damages

under the FCA, to be determined at trial, plus civil penalties of not less than $5,500 and

up to $11,000 for each violation.

                COUNT II: VIOLATIONS OF THE FALSE CLAIMS ACT
                           31 U.S.C. § 3729(a)(1)(B) (2009)
       196.   The United States re-asserts all previous allegations as if set forth herein.



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      197.   As set forth above, Defendants knowingly or with deliberate ignorance or

reckless disregard of the truth, made, used, and caused to be made and used, false records

and statements material to false or fraudulent claims in connection with their claims to

reimbursement to Medicare.

      198.   Defendants made and/or caused to be made numerous false records and

statements, including false statements in, inter-alia, claim forms and CMS Form 8551s

that the claims complied with, all applicable laws, regulations, and program instructions

for payment, including but not limited the representation that the services were

medically necessary. Utilizing these false records and statements, Defendants caused

false claims for payment were submitted to Medicare.

      199.   The United States paid such false or fraudulent claims because of the acts

and conduct of Defendants.

      200.   By reason of Defendants’ false statements and false claims, the United

States has been damaged in a substantial amount to be determined at trial.

                   COUNT III: PAYMENT BY MISTAKE OF FACT
      201.   The United States re-asserts all previous allegations as if set forth herein.

      202.   Defendants have caused the United States to make payment of certain sums

of money in the mistaken belief that the Defendants’ claims involved chelation therapy

that was medically necessary to treat patients suffering from lead poisoning or another

form of heavy metal poisoning.    Indeed, Defendants’ claims falsely indicated that they

sought reimbursement for chelation therapy provided to patients suffering from lead

poisoning or another form of HMP. In view of, inter-alia, the volume of claims submitted

to CMS, CMS cannot check each claim for accuracy prior to paying such claim, and

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therefore relies upon program participants to only submit accurate claims for items and

services that are reasonable and necessary. In such circumstances, payment was by

mistake and was not authorized, and it would not be inequitable to full restitution of such

mistaken payments, as Defendants (for the reasons outlined herein) have not acted in

good faith or in good conscience in dealing the Government.

      203.     As a result of the unauthorized payments, the United States has sustained

damages in an amount to be determined at trial.

                          COUNT IV: UNJUST ENTRICHMENT
      204.     This is a claim for the recovery of monies by which the Defendants have

been unjustly enriched.

      205.     The United States re-asserts all previous allegations as if set forth herein.

      206.     As described above, the Defendants received, and/or have continued to

maintain control over, federal monies to which they are not entitled. Defendants were

not entitled to the federal monies because Defendants, (1) in violation of 42 U.S.C. §

1395y(a)(1)(A), billed Medicare for services that were not reasonable or necessary, and/or

(2) billed Medicare for “experimental” or “alternative” uses of EDTA that are outside of

the indications on the FDA-approved label, and are thus are not covered by Medicare.

      207.     By directly or indirectly obtaining federal funds to which they were not

entitled, Defendants have been unjustly enriched and are liable to account for and pay

such amounts, which are to be determined at trial, to the United States.

                                   PRAYER FOR RELIEF

      WHEREFORE, the United States prays for judgment against Defendants as

follows:

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      (1) On Counts I through II, under the False Claims Act, as amended, for treble the

amount of the United States’ damages plus interest and such civil penalties as are

allowable by law, together with the costs of this action and such other and further relief

as may be just and proper;

      (2) On Count III, for payment by mistake of fact, for the damages sustained, plus

pre-judgment and post-judgment interest, costs, and all such further relief as may be just

and proper;

      (3) On Count IV, for unjust enrichment, for the amount of unjust enrichment, plus

pre-judgment and post-judgment interest, costs, and all such further relief as may be just

and proper; and

      (4) That judgment be entered in favor of the United States and against the

Defendants for actual damages, pre-judgment and post-judgment interest, litigation

costs, investigative costs, disgorgement of all profits, and an accounting, to the fullest

extent as allowed by law, and for such further relief as may be just and proper.

                                    JURY DEMAND

      The United States requests a trial by jury with respect to all issues so triable.




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                              Respectfully submitted,

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